             Case 1:24-mi-99999-UNA Document 2453-4 Filed 07/31/24 Page 1 of 2




                                                                                          P.O. Box 353
                                                                                          Van Wert, OH 45891-9938
                                                                                          Ph: 419.238.1010
                                                                                          central-insurance.com


June 28th, 2022


KENNETH G SHEETS
ANGELA D SHEETS
472 KIMBERLY CT
MCDONOUGH GA 30252-3659



RE: Nathan Thomas Sheets
POLICIES: FMA 3627637 and PXS 3627643
DATE OF LOSS: 03/26/2022



Dear Mr. and Mrs. Sheets,

We recently received notice of a claim in connection with a single vehicle collision that occurred on March 26th
2022. Based on the police report, Nathan T. Sheets was driving a 2015 Chevrolet Silverado K1500 VIN:
3CGUKSECXFG402560 at approximately 08:00 PM on State Road -19 in Lumpkin County, Georgia when his
vehicle left the roadway and struck a tree. It was reported that Ellitott Waddel was occupying the vehicle at the
time of loss and he sustained fatal injuries as a result of the collision. We have reviewed the policy in question
and have determined that there is no coverage available for this loss.

Central Mutual Insurance Company issued a Signature Automobile Policy under number: FMA 3627637 to
Kenneth G. Sheets and Angela D. Sheets with an effective policy period between 08/08/2021 and 08/08/2022.
This policy provides Liability coverage of up to $250,000 per person and up to $500,000 per accident for bodily
injury. Additionally, Central Mutual Insurance also issued a Personal Umbrella Policy to Kenneth G. Sheets and
Angela D. Sheets with an effective period between 08/08/2021 and 08/08/2022 with limit of liability of $1,000,000.

We have reviewed the aforementioned policies and found that Nathan Sheets was excluded from both the
Automobile Policy and the Personal Umbrella Policy effective August 08th 2020. As a result, please be advised
that after a careful review of the provisions of your policy, we are unable to provide you with any coverage for this
loss, nor will we defend or indemnify Kenneth G Sheets, Angela D Sheets or Nathan T. Sheets in this matter.

Please refer to the following enclosures:

       Named Driver Exclusion Acknowledgement form 3-2935 02/13 (electronically signed on 08/06/2020)
       Personal Umbrella Liability Policy Named Driver Exclusion Endorsement form 8-2147 (electronically
        signed on 08/06/2020).

The foregoing may not be inclusive of all applicable policy provisions, exclusions or endorsements and Central
Mutual Insurance will not be precluded from relying upon other policy language as may be applicable. If there is
any additional information you believe may have an impact on this assessment, please forward it to my attention
for review


Sincerely,                                     EXHIBIT
                                                     D
UNLOCK 24/7 ACCESS TO YOUR ACCOUNT WITH

                                                                                                     CMIC0014
          Case 1:24-mi-99999-UNA Document 2453-4 Filed 07/31/24 Page 2 of 2




Claim No.: 1000419640

Nestor Reyes, AINS, AIC
Liability Claim Supervisor
Central Mutual Insurance Co.
Phone: 800-524-1836
Fax: 800-877-2293
nreyes@central-insurance.com


CC: Snelling Walters Insurance Agency




                                                                       CMIC0015
